












NUMBER 13-07-315-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


________________________________________________________


MARY ZUNIGA,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

________________________________________________________


On appeal from the 347th District Court 


of Nueces County, Texas.


________________________________________________________


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Garza and Benavides


Memorandum Opinion Per Curiam



	Appellant, MARY ZUNIGA, perfected an appeal from a judgment entered by the 
347th District Court of Nueces County, Texas,  in cause number 07-CR-0764-H(S1). 
Appellant has filed a motion to dismiss the appeal.  The motion complies with Tex. R.
App. P. 42.2(a).

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that appellant's motion to dismiss the appeal
should be granted.  Appellant's motion to dismiss the appeal is granted, and the appeal
is hereby DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed this

the 2nd day of August, 2007.


